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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                          Case No. 8:20-cv-2184-MSS-SPF

 MELANIE MOORE

       Plaintiff,

 v.

 POOCHES OF LARGO, INC.
 d/b/a PETLAND &
 LUIS MARQUEZ,

       Defendants.
 _____________________________________/

                    DEFENDANTS’ RESPONSE IN OPPOSITION TO
                    PLAINTIFF’S MOTION FOR LEAVE TO AMEND

       Pursuant to Local Rule 3.01, Defendants Pooches of Largo, Inc. & Luis

 Marquez hereby file their Response in Opposition to Plaintiff’s May 2, 2022

 Motion for Leave to amend. [D.E. 35].

       1. Plaintiff’s pro se complaint was largely dismissed by the Court on July

           28, 2021.     A tenuous breach of contract count seeking, at most,

           $1,800.00 remains, along with an untimely FLSA minimum wage claim

           that is, at beast, a few hundred dollars. This is essentially a small-

           claims dispute, nothing more. Since the order on the motion to dismiss,

           Plaintiff has done nothing to prosecute this action. 1




       1 Given the small size of the “dispute,” it should not be surprising that the Defendants

 offered to pay the remaining sum purely as a business decision to avoid fees. But Ms. Moore
 refused claiming she is owed much more than the amount the Court indicated in its dismissal
 order.
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       2. Nearly 10 months later, Plaintiff filed her motion for leave to amend.

          She claims the Defendants have no objection to the amended

          complaint. Defendants do, in fact, object. They were never contacted

          in any way and were not provided any draft proposed amended

          complaint.

       3. Much of her 18-page motion for leave to amend is merely an untimely

          motion to reconsider the July 2021 dismissal order.

       4. Plaintiff’s proposed amended complaint, D.E. 36, although filed not as

          a “proposed” amended complaint, simply re-alleges the counts already

          dismissed 10 months ago. She is again alleging, inter alia, a grand

          conspiracy between the Defendants and their counsel, and her former

          attorney Richard Cellar and she is again seeking injunctive relief and

          compensation for the storage shed she had to obtain for her personal

          effects.   According to the very documents Ms. Moore filed as

          attachments to her Complaint, her former attorney, Mr. Cellar, made a

          baseless demand for $70,000 in a case where the wage dispute, even if

          proven and which is expressly denied by the Defendants, was an

          inadvertent discrepancy over $1,800.00.

       5. Ms. Moore worked for Defendant Pooches of Largo for a total of 20

          (twenty) hours over a two-week window between August 13 and 31,

          2018. D.E. 34, Question 1. She filed a pro se complaint that was

          hundreds of pages. It is not realistic to believe she has a new non-futile

          cause of action that was not already dismissed.
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       For the reasons stated above, Plaintiff’s motion for leave to amend should

 be denied.

                              /s/ Matthew Sarelson
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                          CERTIFICATE OF SERVICE

       I certify that on May 2, 2021 the filed version of this document will be
 emailed to Plaintiff via the Court’s CM/ECF system and directly via email to
 vettechmnm@gmail.com.

                                            /s/ Matt Sarelson
                                            Matthew Seth Sarelson, Esq.
